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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA

 PRESS ROBINSON, EDGAR CAGE, DOROTHY                  CIVIL ACTION
 NAIRNE, EDWIN RENE SOULE, ALICE                      NO. 3:22-cv-00211-SDD-SDJ
 WASHINGTON, CLEE EARNEST LOWE,
 DAVANTE LEWIS, MARTHA DAVIS, AMBROSE                 Chief Judge Shelly D. Dick
 SIMS, NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE                        Magistrate Judge Scott D. Johnson
 (“NAACP”) LOUISIANA STATE CONFERENCE,
 AND POWER COALITION FOR EQUITY AND
 JUSTICE,

                              Plaintiffs,

        v.

 KYLE ARDOIN, in his official capacity as
 Secretary of State for Louisiana,

                              Defendant.

 EDWARD GALMON, SR., CIARA HART, NORRIS               Consolidated with
 HENDERSON, and TRAMELLE HOWARD,
                                                      CIVIL ACTION
                              Plaintiffs,             NO. 3:22-cv-00214-SDD-SDJ

        v.

 R. KYLE ARDOIN, in his official capacity as
 Secretary of State for Louisiana,

                              Defendant.


                                            ORDER

       Considering the Unopposed Motion for Leave to File Brief Amicus Curiae in Support

of Neither Party and to Exceed Page Limit and supporting memorandum of Michael Mislove,

Lisa J. Fauci, Robert Lipton, and Nicholas Mattei,
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       IT IS HEREBY ORDERED that the Proposed Amici’s Motion is GRANTED and the

Amicus Brief may be filed.

       Baton Rouge, Louisiana, this ______ day of _______________, 2023.




                                                                 SHELLY D. DICK
                                                                 UNITED STATES
                                                              CHIEF DISTRICT JUDGE




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